Case 2:04-cv-02418-SHI\/|-dkv Document 41 Filed 05/11/05 Page 1 of 2 Page|D 51
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IN THE UNITED STATES DISTRICT COUR'I‘
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

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EZINE D. ANDERSON, WD.C%}H!‘
Plaintiff,

SCHNUCK MARKETS , INC . ,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the May lO, 2005, motion for admission
pro hac vice of Brian N. Brink. Mr. Brink is a member in good
standing of the bar of the State of Missouri and the State of
Illinois and is admitted to practice before the Missouri Supreme
Court, the United States District Court for the Eastern District
of Missouri, and the United States Supreme Court. Mr. Brink has
obtained and is familiar With the local rules and professional
guidelines of this court.

For good cause shown, the motion is granted and Brian N.
Brink is admitted to participate in this action as counsel for
defendant Schnuck Markets, Inc.

It is so ORDERED this llli\day of May, 2005.

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sAMUEL H. MAYS, JR-

TED STATES DISTRICT JUDGE
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Honorable Samuel Mays
US DISTRICT COURT

